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                           UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

In re:                                        §
                                              §       Case No. 17-34283
Robert R. Fretz, Jr.,                         §
                                              §       Chapter 7
     Debtor.                                  §
SKAI Foundation,                              §
     Plaintiff,                               §
                                              §
v.                                            §       Adv. No. 17-3414
                                              §
Robert R. Fretz, Jr.,                         §
      Defendant.                              §

                    MOTION TO DISMISS ADVERSARY PROCEEDING

         Plaintiff SKAI Foundation, moves to dismiss all claims against Defendant Robert R.

Fretz, Jr., and respectfully states:

         1.     Plaintiff desires to dismiss claims against Defendant Robert R. Fretz, Jr. asserted

in this adversary proceeding.

         2.     As an answer has been filed in this proceeding, dismissal is not available by

notice or stipulation, but must be requested by motion. See Fed.R.Civ.P. 41(a), incorporated for

this proceeding by Fed.R.Bank.P. 7041.

         3.     Robert R. Fretz, Jr. has filed no counterclaims.

         4.     Plaintiff and Defendant Robert R. Fretz, Jr. have agreed to dismissal of claims

against said Defendant, with each party to bear her or its own costs.

         WHEREFORE, Plaintiff SKAI Foundation, prays that the Court dismiss claims against

Defendant Robert R. Fretz, Jr. with prejudice.




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                                                     Respectfully submitted,

                                              By:    /s/ Aaron J. Power
                                                     Aaron J. Power
                                                     Porter Hedges LLP
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                                                     Houston, Texas 77002
                                                     (713) 226-6000
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                                                     Counsel for Plaintiff


                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that a copy of the foregoing Motion to Dismiss Robert
R. Fretz, Jr. was served via this Court’s e-filing system this 3rd day of July, 2018, to all counsel
in this proceeding.

                                                     /s/ Aaron J. Power
                                                     Aaron J. Power




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